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                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9                                (SAN FRANCISCO DIVISION)
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11   IN RE: CATHODE RAY TUBE (CRT)                     Case No. 07-5944-JST
     ANTITRUST LITIGATION                                 MDL No. 1917
12
13
     This Document Relates to:
14
15   Individual Case No. CV 11-5514
16
17   SEARS, ROEBUCK AND CO. and KMART
     CORP.,
18
19                                                [PROPOSED] ORDER
                                Plaintiffs.
20
                    v.
21
     CHUNGHWA PICTURE TUBES, LTD., et
22   al.,
23
                                Defendants
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     [PROPOSED] ORDER
     Case No. 07-5944-JST, MDL No. 1917
         Case 3:07-cv-05944-JST Document 4739 Filed 08/02/16 Page 2 of 2




 1          The Court, having considered the stipulation of the parties, and good cause appearing
 2   therefore, orders as follows:
 3          1.      All claims asserted by Plaintiffs Sears, Roebuck and Co., and Kmart Corp.,
 4   against Defendants Koninklijke Philips N.V. (f/k/a Koninklijke Philips Electronics N.V.),
 5   Philips Electronics North America Corporation, Philips Taiwan Limited (f/k/a Philips
 6   Electronics Industries (Taiwan), Ltd.), and Philips do Brasil, Ltda. (f/k/a Philips da
 7   Amazonia Industria Electronica Ltda.) (collectively “Philips”) are dismissed with prejudice
 8   pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure.
 9          2. Each party shall bear its own costs and attorneys’ fees.
10          3. This Order is not a dismissal of any person or entity other than Philips.
11          IT IS SO ORDERED.
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14   This 2nd day of August, 2016.                       _________________________________




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16                                                          IT ISSTATES DISTRICT JUDGE
                                                         UNITED




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     [PROPOSED] ORDER
     Case No. 07-5944-JST, MDL No. 1917
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